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  Iran Quietly Lowers the Temperature With U.S.
  Despite the heated rhetoric on both sides, Iran has toned down its approach to the West on several
  fronts, and the U.S. has reciprocated.

  By Alissa J. Rubin and Farnaz Fassihi

  May 19, 2020


  BAGHDAD — After years of increasing tensions that nearly led to war, Iran has moderated its approach
  to the West, shifting from a policy of provocation to one of limited cooperation. The change reflects an
  effort to avoid direct confrontation with the United States that the Iranians say could benefit President
  Trump in the November election.

  Nowhere is the shift more evident than in Iraq, where Iran has backed a pro-American prime minister
  and ordered its proxy militias to cease their rocket attacks on American forces.

  The Americans, while publicly dismissive of any change in Iranian posture, have quietly reciprocated in
  modest and indirect ways.

  Taken together, the openings represent an incipient détente that, even if it does not last or lead to the end
  of hostilities between Iran and the United States, has already lowered the temperature of the relationship,
  reducing the risk of open conflict.

  “A war is less likely to happen, but there is still the risk of a confrontation,” said Randa Slim, a senior
  fellow at the Middle East Institute. “But it’s less likely because the intent of the primary actors has
  shifted. Both Iran and the U.S. definitely do not want a war six months before the U.S. elections.”

  Iran’s shift, which has not been announced or explained publicly, appears to be tactical, analysts said,
  noting that the country still vehemently opposes the Trump administration’s demand that it renegotiate
  its nuclear agreement with the West and that it has not backed off its goal of ousting the United States
  military from the Middle East. Publicly, both countries remain engaged in verbal warfare.




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                              Anti-war activists marching in Washington in January. The détente has made open
                              conflict less likely. Andrew Caballero-Reynolds/Agence France-Presse — Getty Images



  But the recent signs of de-escalation have been significant:

     After months of hit-and-run attacks on American forces in Iraq that pushed the United States and Iran
     to the brink of war in January, Iran has called off its proxy militias and the attacks have largely ceased.

     When Iraq’s Parliament chose an American-backed prime minister this month, Iran, which has been
     instrumental in choosing previous Iraqi governments, ultimately acceded to the choice and helped put
     him in office.

     In April, Iran reached out to the United States to open negotiations for a prisoner swap, offering to
     release a United States Navy veteran held by Iran in exchange for an Iranian-American doctor
     detained by the Americans.

     Attacks on merchant ships and tankers in the Persian Gulf that threatened one of the world’s busiest
     shipping lanes for much of last year have been ratcheted down, although not entirely ended.

  Diplomats, Iraqi and Iranian officials and analysts cite a combination of reasons for the change, including
  a fear of war with the United States. They also note that Iran is overextended — fighting a coronavirus
  epidemic, a tanking economy and public unrest at home — and needs to retrench.

  Tehran was caught by surprise when the Americans retaliated for the killing of an American contractor in
  Iraq in December by killing the leader of Iran’s elite Quds Force, Maj. Gen. Qassim Suleimani. The United
  States threatened a disproportionate response if another American was killed, something Iran could ill


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  afford.

  “Iran is redefining its regional policies after Gen. Suleimani’s assassination,” Mohamad Hossein Malaek,
  a seasoned Iranian diplomat and former ambassador to China, wrote in Iranian Diplomacy magazine in
  April. “It’s reshuffling its cards, it’s reassessing its capabilities, and it has entered the arena with a new
  perspective and plan.”




                              Mourners in Tehran after the death of Lt. Gen. Qassim Suleimani in January. His sway
                              had extended throughout the region. Arash Khamooshi for The New York Times



  Iran has also concluded that escalating tensions with the United States could provoke armed conflict
  which, aside from being painful for Iran, could benefit Mr. Trump politically, improving his re-election
  chances, according to people familiar with the policy. Since taking office, Mr. Trump has withdrawn from
  the nuclear agreement with Iran and imposed crippling economic sanctions that have devastated Iran’s
  economy.

  An adviser to Iran’s foreign ministry said that even the powerful Quds Force — the branch of the
  Revolutionary Guards that runs proxy militias from Iraq to Lebanon — had been ordered to “act
  conservatively” and remain in “a holding pattern” until November.


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                                      •   California will allow indoor dining in San Diego and San Francisco as early as
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  In addition to the American election, Iran has its eyes on a United Nations Security Council decision in
  October that will determine whether an international arms embargo against it is extended. Until then,
  Iran wants to avoid alienating members of the Security Council, analysts said.

  The Trump administration credits its “maximum pressure campaign” against Iran, including sanctions
  and military threats, for forcing the country to rethink its strategy.


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  “Pressure works,” Brian Hook, the State Department’s special representative for Iran policy, said
  Tuesday. “For over three years we have contained and countered Iran through deterrence and diplomacy.
  The regime is also broke because of our sanctions. Iran’s leaders today face a choice: either negotiate
  with President Trump or manage economic collapse.”

  The attacks in the Persian Gulf dropped off, the Americans point out, after Mr. Trump ordered the Navy
  to sink any Iranian vessels harassing American ships. On Tuesday, the Navy warned boats not to come
  within 100 meters of an American naval vessel in international waters.

  At the same time, despite the all-or-nothing statements, the United States has engaged with Iran
  indirectly.

  After Iran accepted the American-backed nominee for Iraq’s prime minister, Mustapha al-Kadhimi, the
  United States granted Iraq a four-month waiver from American sanctions on Iran so that Baghdad could
  buy gas from Tehran. The waiver — longer than the usual 30- to 45-day waiver — gives Iran access to
  much needed cash.




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                                                                Prime Minister Mustapha al-Kadhimi of Iraq, who is backed by the United States. Iran
                                                                acceded to his selection and helped put him in office. Iraqi Prime Minister Media Office,
                                                                via Reuters




                                    Another outreach between the two foes has involved discussions about a possible prisoner swap
                                    involving an American Navy veteran, Michael White, and an Iranian doctor in U.S. custody. The talks
                                    seem to have stalled in the past few days but neither side appears to have given up on them.

                                    In another possible gesture, Iran’s Central Bank governor, Abdolnaser Hemmati, said in March that the
                                    United States had allowed some frozen Iranian funds in third countries to be released to Iran. The
                                    payments were widely understood to be for oil purchases.


                                                                       The Coronavirus Outbreak ›

                                                                       Frequently Asked Questions
                                                                       Updated August 27, 2020


                                                                       What should I consider when choosing a mask?
                                                                       There are a few basic things to consider. Does it have at least two
                                                                       layers? Good. If you hold it up to the light, can you see through it? Bad.
                                                                       Can you blow a candle out through your mask? Bad. Do you feel mostly
                                                                       OK wearing it for hours at a time? Good. The most important thing,
                                                                       after finding a mask that fits well without gapping, is to find a mask
                                                                       that you will wear. Spend some time picking out your mask, and find
                                                                       something that works with your personal style. You should be wearing
                                                                       it whenever you’re out in publicSEE
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  United States officials deny that they allowed any frozen funds to be paid to Iran.

  Western analysts characterize Iran’s shifts as adapting to changing situations.

  “What we’ve been seeing coming out of Iran over the past couple of months is more easily explained as a
  tactical shift in each theater that makes sense in that theater, rather than a strategic change,” said Jarrett
  Blanc, a senior fellow at the Carnegie Endowment for International Peace.

  In Iraq, where the back and forth with the United States was most transparent, Iran was ultimately more
  concerned with stabilizing Iraq than installing its preferred candidate, Iranian officials said.

  Anti-government protests in Iraq last fall that led to the resignation of the previous prime minister also
  condemned Iran’s influence and the virtually unchecked power of its proxy militias.

  By March, with Parliament still unable to agree on a new prime minister, Iraq was facing a host of other
  problems as well: Plummeting oil prices had deprived the government of its main source of revenue, and
  restrictions imposed to fight the coronavirus pandemic had shut down the economy.




                              Iraqi security forces clashing with protesters in Baghdad last November. Ivor Prickett
                              for The New York Times




  Iran relies on Iraq’s economy as a market for its goods and as an illicit source of revenue through the
  Iranian-backed militia groups.




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  “Iran considers Iraq one of its two most important countries in terms of its security because it knows that
  what happens in Iraq is not going to stay in Iraq,” said Ariane Tabatabai, a Middle East fellow at the
  German Marshall Fund.

  In April, Gen. Ismail Qaani, who replaced General Suleimani as the Quds Force commander, came to
  Baghdad with a clear message. He told senior Iraqi political leaders that Tehran was troubled by Iraq’s
  economic disarray: “Things are not good in Iraq and they can’t go on like this because Iraq will become a
  burden on Iran,” he said, according to a senior Iraqi political leader who met with General Qaani.

  With Iraq on the verge of falling apart and the Americans threatening to end the sanctions waivers for
  Iraq and refusing to aid its struggling economy, Iran blinked.

  “Iran overplayed its hand and they were overstretched — in Lebanon, in Syria and then the protests in
  the fall — and the fact that Shiites protested against Iran, that shook them,” said a senior Iraqi politician
  who asked not to be identified in order to discuss delicate diplomatic issues.

  Iran not only accepted Mr. al-Kadhimi, the American choice, but also lobbied its allied parties in Iraq to
  support him.

  Western officials took that as a victory.

  “The narrative since 2003 is that the West has allowed Iraqi politics to shift toward Iran,” said a senior
  Western diplomat, speaking on condition of anonymity. “But actually here, this time, the Americans and
  the British supported Kadhimi from the beginning and Iran did not, and it was Iran who moved a little.”
  Alissa J. Rubin reported from Baghdad, and Farnaz Fassihi from New York. Falih Hassan contributed reporting from Baghdad, and Lara
  Jakes from Washington.

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  A version of this article appears in print on May 20, 2020, Section A, Page 1 of the New York edition with the headline: Softening Tone, Iran Keeps Eye On Race in U.S.




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